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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION




    IN RE: NATIONAL PRESCRIPTION                                   MDL NO. 2804
          OPIATE LITIGATION
                                                            Civ. No. 1:17-md-02804-DAP

       THIS DOCUMENT RELATES TO:                          HON. JUDGE DAN A. POLSTER
                All Cases



    MCKESSON CORPORATION’S AMENDED NOTICE REGARDING SERVICE


       McKesson Corporation (“McKesson”) hereby amends its prior Notice Regarding Service

(ECF No. 267).      On May 25, 2018, in accordance with the Court’s April 11, 2018 Case

Management Order One, Paragraph 6.d., McKesson identified Nathan Shafroth as its attorney

point-of-contact for all communications regarding requests for waiver of service. See ECF No.

267. McKesson now amends its Notice Regarding Service as follows:

          Requests for waiver of service to McKesson shall be made, complete with all required

case information and a PDF copy of the complaint and any exhibits thereto, via email to attorney

Amber Charles (acharles@cov.com). The proper form for waiver of service for McKesson is

attached to this notice as Exhibit A. The standard form has been modified in accordance with this

Court’s orders.


 Dated:      May 8, 2023                           Respectfully Submitted,


                                                    /s/ Geoffrey E. Hobart
                                                   Geoffrey E. Hobart
                                                   Mark H. Lynch
                                                   COVINGTON & BURLING LLP


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                                         Counsel for McKesson Corporation




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 8th day of May, 2023, the foregoing was filed

using the Court’s CM/ECF filing system and will be served via the Court’s CM/ECF filing system

on all attorneys of record.

                                                    /s/ Geoffrey E. Hobart
                                                    Geoffrey E. Hobart




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